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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

 Case No.: 2:21-06654 SVW (ADS)                                 Date: March 7, 2022
 Title: Joseph v. Superior Court of California Los Angeles, et al.


 Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


               Kristee Hopkins                                None Reported
                Deputy Clerk                             Court Reporter / Recorder

     Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
               None Present                                    None Present

 Proceedings:        (IN CHAMBERS) ORDER TO SHOW CAUSE WHY CASE
                     SHOULD NOT BE DISMISSED FOR FAILURE TO
                     PROSECUTE AND OBEY COURT ORDERS

        Plaintiff Kristen Joseph filed a Complaint asserting a conspiracy claim under 42
 U.S.C. § 1985(3) and a claim under the Americans with Disabilities Act. (Dkt. No. 1.)
 On February 10, 2022, the Court issued an Order Dismissing Complaint with Leave to
 Amend, which gave Plaintiff three options on how to proceed with this case. (Dkt. No.
 6.) Plaintiff’s response was due by March 3, 2022. (Id. at 7-8.) As of the date of this
 order, Plaintiff has failed to file a response.

         Plaintiff is ordered to show cause why this case should not be dismissed under
 Federal Rule of Civil Procedure 41(b) for failure to prosecute and obey court orders.
 Plaintiff must file a written response by no later than March 21, 2022.
 Plaintiff may respond to this order by (a) filing a first amended complaint; (b) filing a
 notice of voluntarily dismissal; or (c) filing a statement with the Court indicating the
 desire to move forward with the Complaint despite the weaknesses noted by the Court in
 its prior order.
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       Plaintiff is expressly warned that failure to timely file a response to
 this order may result in a recommendation to the District Judge that this
 action be dismissed without prejudice for failure to prosecute and obey
 Court orders pursuant to Federal Rule of Civil Procedure 41(b).

       IT IS SO ORDERED.




                                                              Initials of Clerk kh




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